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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

MICHAEL AVENATTI,

Plaintiff, :
Vv. : C.A. No. 1:20-cv-01541-SB
FOX NEWS NETWORK, LLC,
a Delaware Limited Liability Company;
SEAN HANNITY; LAURA INGRAHAM; :
MARIA BARTIROMO; :
HOWARD KURTZ; SHANNON BREAM; :
BRET BAIER; TRISH REGAN; :
RAYMOND ARROYO; JON SCOTT;
LELAND VITTERT, and JONATHAN
HUNT,

Defendants.

PLAINTIFF’S NOTICE OF INTENTION TO STAND ON THE COMPLAINT
Plaintiff Michael Avenatti, by and through his undersigned counsel, hereby provides
notice of, and declares, his intention to stand on his last filed complaint [D.I. 3] in accordance
with Huertas v. Galaxy Asset Management, 641 F.3d 28, 32 n. 3 (3d Cir. 2011); Batoff'v. State
Farm Ins. Co., 977 F.2d 848, 851 n. 5 (3d Cir. 1992); and Borelli v. City of Reading, 532 F.2d
950, 951-52 (3d Cir. 1976).
Respectfully submitted,

/s/ R. Karl Hill

 

SEITZ, VAN OGTROP & GREEN, P.A. Shawn R. Perez (pro hac to be filed)

R. KARL HILL (DE2747) LAW OFFICES OF SHAWN R. PEREZ
222 Delaware Avenue, Suite 1500 7121 West Craig Road, #113-38
Wilmington, DE 19801 Las Vegas, NV 89129

(302) 888-7604 (720) 485-3977

khill@svglaw.com

August 18, 2021 Attorneys for Plaintiff Michael Avenatti

 
